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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     NORTHERN DIVISION
                                           ______

DEANDRE M. ANDERSON,

                         Plaintiff,                       Case No. 2:17-cv-183
v.                                                        Honorable Janet T. Neff
MICHIGAN DEPARTMENT OF
CORRECTIONS, et al.,


                         Defendants.
____________________________/

                                                OPINION

                This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983. Under

the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996) (PLRA), the Court is

required to dismiss any prisoner action brought under federal law if the complaint is frivolous,

malicious, fails to state a claim upon which relief can be granted, or seeks monetary relief from a

defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C. § 1997e(c). The

Court must read Plaintiff’s pro se complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520

(1972), and accept Plaintiff’s allegations as true, unless they are clearly irrational or wholly incredible.

Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these standards, the Court will dismiss

Plaintiff’s complaint for failure to state a claim.

                                                Discussion

                I.       Factual allegations

                Plaintiff is presently incarcerated with the Michigan Department of Corrections

(MDOC) at the Gus Harrison Correctional Facility (ARF) in Adrian, Lenawee County, Michigan. The

events about which he complains, however, occurred at the Marquette Branch Prison (MBP) in
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Marquette, Marquette County, Michigan. Plaintiff sues the Michigan Department of Corrections, the

Marquette Branch Prison, Assistant Resident Unit Supervisor Unknown Govern, Psychologist Robin

J. Bailey-Webb, Corrections Officer Robert White, Corrections Officer Unknown Vrabal, and

Corrections Officer Unknown Speckerman.

                Plaintiff’s complaint and his attached exhibits indicate that he is contesting an August

25, 2017 class I misconduct conviction for fighting. Plaintiff claims that prior to the incident, he had

complained to Defendants Bailey-Webb, Govern, and White of sexual harassment by Defendants

Vrabal and Speckerman, as well as by prisoners Pauli and Hall. Plaintiff claims that because

Defendants Bailey-Webb, Govern, and White failed to follow PREA [Prison Rape Elimination Act of

2003] standards, he was permitted to remain in an unsafe environment. Plaintiff asserts that these facts

should have prevented him from being found guilty of the misconduct. Plaintiff seeks damages and

equitable relief.

                II.     Failure to state a claim

                A complaint may be dismissed for failure to state a claim if it fails “‘to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While a

complaint need not contain detailed factual allegations, a plaintiff’s allegations must include more than

labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.”). The court must determine whether the complaint contains “enough facts to state a

claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 679. Although the plausibility

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standard is not equivalent to a “‘probability requirement,’ . . . it asks for more than a sheer possibility

that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 556).

“[W]here the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged – but it has not ‘show[n]’ – that the pleader is entitled to relief.”

Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P. 8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71

(6th Cir. 2010) (holding that the Twombly/Iqbal plausibility standard applies to dismissals of prisoner

cases on initial review under 28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).

                To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a right

secured by the federal Constitution or laws and must show that the deprivation was committed by a

person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr. Corp. of

Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating federal rights, not

a source of substantive rights itself, the first step in an action under § 1983 is to identify the specific

constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271 (1994).

                III.            Eleventh Amendment immunity

                Initially, the Court notes that Plaintiff may not maintain a § 1983 action against the

Michigan Department of Corrections. Regardless of the form of relief requested, the states and their

departments are immune under the Eleventh Amendment from suit in the federal courts, unless the

state has waived immunity or Congress has expressly abrogated Eleventh Amendment immunity by

statute. See Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 98-101 (1984); Alabama v.

Pugh, 438 U.S. 781, 782 (1978); O’Hara v. Wigginton, 24 F.3d 823, 826 (6th Cir. 1993). Congress

has not expressly abrogated Eleventh Amendment immunity by statute, Quern v. Jordan, 440 U.S.

332, 341 (1979), and the State of Michigan has not consented to civil rights suits in federal court. Abick

v. Michigan, 803 F.2d 874, 877 (6th Cir. 1986). In numerous unpublished opinions, the Sixth Circuit

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has specifically held that the MDOC is absolutely immune from suit under the Eleventh Amendment.

See, e.g., McCoy v. Michigan, 369 F. App’x 646, 653-54 (6th Cir. 2010); Turnboe v. Stegall, No. 00-

1182, 2000 WL1679478, at *2 (6th Cir. Nov. 1, 2000). In addition, the State of Michigan (acting

through the Michigan Department of Corrections) is not a “person” who may be sued under § 1983 for

money damages. See Lapides v. Bd. of Regents, 535 U.S. 613 (2002) (citing Will v. Mich. Dep’t of

State Police, 491 U.S. 58 (1989)). Therefore, the Court dismisses the Michigan Department of

Corrections.

                 Plaintiff’s complaint seeks damages from the Marquette Branch Prison (MBP). An

express requirement of 42 U.S.C. § 1983 is that the defendant be a “person.” See Monell v. Dep’t of

Social Servs., 436 U.S. 658 (1978). MBP is an administrative unit of the Michigan Department of

Corrections. Neither a prison nor a state corrections department is a “person” within the meaning of

section 1983. Will v. Michigan Dep’t of State Police, 491 U.S. 58 (1989). Furthermore, Plaintiff’s

claim against this Defendant is barred by the Eleventh Amendment. Alabama, 438 U.S. at 782. As

noted above, that amendment prohibits suits in federal court against the state or any of its agencies or

departments. Pennhurst State School & Hosp, 465 U.S. at 100. MBP is therefore not subject to a

§ 1983 action.

                 IV.            Due process

                 Plaintiff appears to be claiming that his misconduct conviction violated his due process

rights. A prisoner’s ability to challenge a prison misconduct conviction depends on whether the

convictions implicated any liberty interest. In the seminal case in this area, Wolff v. McDonnell, 418

U.S. 539 (1974), the Court prescribed certain minimal procedural safeguards that prison officials must

follow before depriving a prisoner of good-time credits on account of alleged misbehavior. The Wolff

Court did not create a free-floating right to process that attaches to all prison disciplinary proceedings;

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rather, the right to process arises only when the prisoner faces a loss of liberty, in the form of a longer

prison sentence caused by forfeiture of good-time credits:

         It is true that the Constitution itself does not guarantee good-time credit for satisfactory
         behavior while in prison. But here the State itself has not only provided a statutory
         right to good time but also specifies that it is to be forfeited only for serious
         misbehavior. Nebraska may have the authority to create, or not, a right to a shortened
         prison sentence through the accumulation of credits for good behavior, and it is true
         that the Due Process Clause does not require a hearing “in every conceivable case of
         government impairment of private interest.” But the State having created the right to
         good time and itself recognizing that its deprivation is a sanction authorized for major
         misconduct, the prisoner’s interest has real substance and is sufficiently embraced
         within Fourteenth Amendment “liberty” to entitle him to those minimum procedures
         appropriate under the circumstances and required by the Due Process Clause to insure
         that the state-created right is not arbitrarily abrogated.

Wolff, 418 U.S. at 557 (citations omitted).

                   Plaintiff does not allege that his major misconduct convictions resulted in any loss of

good-time credits, nor could he. The Sixth Circuit has examined Michigan statutory law, as it relates

to the creation and forfeiture of disciplinary credits1 for prisoners convicted of crimes occurring after

April 1, 1987. In Thomas v. Eby, 481 F.3d 434 (6th Cir. 2007), the court determined that loss of

disciplinary credits does not necessarily affect the duration of a prisoner’s sentence. Rather, it merely

affects parole eligibility, which remains discretionary with the parole board. Id. at 440. Building on

this ruling, in Nali v. Ekman, 355 F. App’x 909 (6th Cir. 2009), the court held that a misconduct citation

in the Michigan prison system does not affect a prisoner’s constitutionally protected liberty interests,

because it does not necessarily affect the length of confinement. 355 F. App’x at 912; accord, Taylor

v. Lantagne, 418 F. App’x 408, 412 (6th Cir. 2011); Wilson v. Rapelje, No. 09-13030, 2010 WL

5491196, at * 4 (E.D. Mich. Nov. 24, 2010) (Report & Recommendation) (holding that “plaintiff’s



1
  For crimes committed after April 1, 1987, Michigan prisoners earn “disciplinary credits” under a statute that abolished the
former good-time system. MICH. COMP. LAWS § 800.33(5).

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disciplinary hearing and major misconduct sanction does not implicate the Fourteenth Amendment

Due Process Clause”), adopted as judgment of court, 2011 WL 5491196 (Jan. 4, 2011). Absent a

demonstrated liberty interest, Plaintiff has no due process claim based on the loss of disciplinary

credits. See Bell v. Anderson, 301 F. App’x 459, 461-62 (6th Cir. 2008).

                Even absent a protectible liberty interest in disciplinary credits, a prisoner may be able

to raise a due process challenge to prison misconduct convictions that result in a significant, atypical

deprivation. See Sandin v. Connor, 515 U.S. 472 (1995). Plaintiff has not identified any significant

deprivation arising from his convictions. Plaintiff received 21 days loss of privileges as a result of his

conviction. See ECF No. 1-1, PageID.15. The Wolff court described loss of privileges as a “lesser

penalt[y]” that would not warrant “the procedures required by today’s decision . . . .” Wolff, 418 U.S.

at 571 n. 19; see also Ingram v. Jewell, 94 F. App’x 271, 273 (6th Cir. 2004) (14-day loss of privileges

is not atypical and significant); Dixon v. Morrrison, No. 1:13-cv-1078, 2013 WL 6512981 at *7 (W.D.

Mich. December 12, 2013) (15-day loss of privileges is not atypical and significant). The sanction of

lost privileges here is not sufficiently significant or atypical to warrant due process protection. Unless

a prison misconduct conviction results in an extension of the duration of a prisoner’s sentence or some

other atypical hardship, a due process claim fails. Ingram v. Jewell, 94 F. App’x 271, 273 (6th Cir.

2004).

                                              Conclusion

                Having conducted the review required by the Prison Litigation Reform Act, the Court

determines that Defendants Michigan Department of Corrections, the Marquette Branch Prison,

Govern, Bailey-Webb, White, Vrabal, and Speckerman will be dismissed for failure to state a claim,

under 28 U.S.C. §§ 1915(e)(2) and 1915A(b), and 42 U.S.C. § 1997e(c).

                The Court must next decide whether an appeal of this action would be in good faith

within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611

(6th Cir. 1997). For the same reasons that the Court dismisses the action, the Court discerns no good-
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faith basis for an appeal. Should Plaintiff appeal this decision, the Court will assess the $505.00

appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11, unless Plaintiff is barred

from proceeding in forma pauperis, e.g., by the “three-strikes” rule of § 1915(g). If he is barred, then

he will be required to pay the $505.00 appellate filing fee in one lump sum.

                This is a dismissal as described by 28 U.S.C. § 1915(g).

                A Judgment consistent with this Opinion will be entered.

Dated:    July 19, 2018                                 /s/ Janet T. Neff
                                                        Janet T. Neff
                                                        United States District Judge




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